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                        UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORNIA
                                                     12 SEP - 5 PH I: 19
UNITED STATES OF AMERICA,                   CASE NO. 10

                         Plaintiff,                          av:/lfl
                                                                              DE;>IJ'
                vs.                         JUDGMENT OF DISMISSAL
JOSE EDUARDO MAGANA-LOPEZ (2),

                         Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

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 X__ the Court has granted the oral motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

     of the offenses as charged in the Indictment and Superseding
     Information respectively:

     21 USC 952, 960, and 963 - Conspiracy to Import Marijuana

     21 USC 841(a) (1) and 846 - Conspiracy to Distribute Marijuana

           IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED:   i~/ t~                             p~w~L,ihf6
                                            H N.~ MARII:; L. HUFF
                                            UNITED STATES DISTRICT JUDGE
